Case 2:10-md-02179-CJB-DPC Document 6430-13 Filed 05/03/12 Page 1 of 5




                        EXHIBIT 5
   Case 2:10-md-02179-CJB-DPC Document 6430-13 Filed 05/03/12 Page 2 of 5



                               Compensation for Multi-Facility Businesses


This document is intended to provide options, or other guidance, to a Multi-Facility Business making a
Business Economic Loss Claim. Each Multi-Facility Business must satisfy all documentation
requirements set forth in Documentation Requirements for Business Economic Loss Claims and in II
below.

The choices available to Multi-Facility Businesses are dictated by: (i) where the business’ Headquarters
are located; (ii) whether the business maintained separate contemporaneous profit and loss statements
for each Facility; and (iii) whether all of the business’ Facilities are located within the Gulf Coast Areas.

A Multi-Facility Business with its Headquarters and all Facilities located within the Gulf Coast Areas that
maintained separate contemporaneous profit and loss statements for each Facility during the
Benchmark Period and 2010, may, at its option, elect to file claims in one of two ways: 1) A claim for
each individual Facility that the Multi-Facility Business chooses to include in the claim, or 2) a
consolidated claim. If the Multi-Facility Business chooses to file separate claims for one, some, or all of
its Facilities, the applicable Causation standard and RTP shall be applied separately to each claiming
Facility based on its location and industry. If the Multi-Facility Business chooses to file a consolidated
facility claim, the Causation standard and RTP applicable to the Headquarters shall be applied to the
entire consolidated claim.

A Multi-Facility Business with its Headquarters and all Facilities located within the Gulf Coast Areas that
did not maintain separate contemporaneous profit and loss statements for each Facility during the
Benchmark Period and 2010, may, at its option, elect to file claims in one of two ways: 1) A claim for
each individual Facility that the Multi-Facility Business chooses to include in the claim, or 2) a
consolidated claim. If the Multi-Facility Business chooses to file separate claims for one, some, or all of
its Facilities, the Additional Multi-Facility Business Documentation must be provided, and the Settlement
Program shall apply the relevant Causation standard and RTP separately to each claiming Facility based
on its location and industry. If the Multi-Facility Business chooses to file a consolidated claim, the
Causation standard and RTP applicable to the Headquarters shall be applied to the entire consolidated
claim.

A Multi-Facility Business with its Headquarters located within the Gulf Coast Areas that has one or more
Facilities located outside of the Gulf Coast Areas and maintained separate contemporaneous profit and
loss statements for each Facility during the Benchmark Period and 2010, may, at its option, elect to file
claims in one of two ways: 1) A claim for each individual Facility located in the Gulf Coast Areas that the
Multi-Facility Business chooses to include in the claim, or 2) a consolidated claim on behalf of all
Facilities located in the Gulf Coast Areas. If the Multi-Facility Business chooses to file separate claims for
one, some, or all of its Facilities located in the Gulf Coast Areas, the relevant Causation standard and RTP
for each claiming Facility based on its location and industry shall apply. If the Multi-Facility Business
chooses to file a consolidated claim, the Additional Multi-Facility Business Documentation must be



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     Case 2:10-md-02179-CJB-DPC Document 6430-13 Filed 05/03/12 Page 3 of 5



provided, and the Settlement Program shall utilize the Causation standard and RTP applicable to the
Headquarters to determine the Settlement Payment that is owed with respect to the losses suffered by
all Facilities located within the Gulf Coast Areas.

A Multi-Facility Business with its Headquarters located within the Gulf Coast Areas that has one or more
Facilities located outside of the Gulf Coast Areas and did not maintain separate contemporaneous profit
and loss statements for each Facility during the Benchmark Period and 2010, may, at its option, elect to
file claims in one of two ways: 1) A claim for each individual Facility located in the Gulf Coast Areas that
the Multi-Facility Business chooses to include in the claim, or 2) a consolidated claim on behalf of all
Facilities located in the Gulf Coast Areas. If the Multi-Facility Business chooses to file separate claims for
one, some, or all of its Facilities located in the Gulf Coast Areas, the Additional Multi-Facility Business
Documentation must be provided and the relevant Causation standard and RTP for each claiming Facility
based on its location and industry shall apply. If the Multi-Facility Business chooses to file a
consolidated claim, the Additional Multi-Facility Business Documentation must be provided, and the
Settlement Program shall utilize the Causation standard and RTP applicable to the Headquarters to
determine the Settlement Payment that is owed with respect to the losses suffered by all Facilities
located within the Gulf Coast Areas.

A Multi-Facility Business with its Headquarters located outside of the Gulf Coast Areas that maintained
separate contemporaneous profit and loss statements for each Facility in the Gulf Coast Areas during
the Benchmark Period and 2010, may submit separate claims for one, some or all Facilities located
within the Gulf Coast Areas. The applicable Causation standard and RTP shall be applied separately to
each claiming Facility based on its location and industry.

A Multi-Facility Business with its Headquarters located outside of the Gulf Coast Areas that did not
maintain separate contemporaneous profit and loss statements for each Facility in the Gulf Coast Areas
during the Benchmark Period and 2010, may submit a consolidated claim for all Facilities located within
the Gulf Coast Areas. The Additional Multi-Facility Business Documentation must be provided, and the
Settlement Program shall apply the relevant Causation standard and RTP separately to each Facility
located within the Gulf Coast Areas.



I.      Definitions

Multi-Facility Business: A business entity that, during the period April 1, 2010 through December 31,
2010, maintained Facilities in more than one location and had at least one Facility within the Gulf Coast
Areas.

Facility: A separate and distinct physical location of a Multi-Facility Business at which it performs or
manages its operations.




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       Case 2:10-md-02179-CJB-DPC Document 6430-13 Filed 05/03/12 Page 4 of 5



II.        Multi-Facility Business Documentation

       1. Separate profit and loss (P&L) statements for each individual Facility that were prepared and
          maintained in the normal course of business must be provided.

       2. Organizational Description: A chart or description detailing all Facilities included in the Multi-
          Facility Business.
III.       Additional Multi-Facility Business Documentation

       1. Consolidating Financial Statements: Consolidating financial statements are required for the
          Multi-Facility Business specifying profit and loss for all Facilities and detailing eliminating
          entries required. In addition, the Multi-Facility Business will complete a Sworn Written
          Statement that separate profit and loss statements for each of the claiming Facilities do not
          exist, and individual Facility P&L statements prepared for the purpose of filing a claim are based
          on the business’s books and records.
       2. Intercompany Transaction Reports: Listing of all intercompany transactions between Facilities
          included in the Multi-Facility Business.
       3. Allocated Cost Schedule: Listing of all shared costs between Facilities of the Multi-Facility
          Business and the calculations used to allocate those expenses between Facilities. Where a
          Multi-Facility Business prepares individual Facility P&L statements based on its books and
          records to support a claim, all shared costs shall be allocated among all Facilities based on their
          share of the total revenue of the Multi-Facility Business.
IV. Cost Allocation
       1. Where a Multi-Facility business maintained separate contemporaneous profit and loss
          statements for each Facility during the Benchmark Period and 2010, and files a claim for one,
          some, or all facilities within the Gulf Coast Areas, all direct expenses associated with each
          claiming Facility in the Facility’s contemporaneously-prepared P&L statements, and only such
          expenses, will be included in the calculation.
       2. Where a Multi-Facility Business prepares individual Facility P&L statements based on its books
          and records to support a claim, all shared costs shall be allocated among all Facilities based on
          their share of the total revenue of the Multi-Facility Business.
V.         Compensation
       1. For a Multi-Facility Business which has all Facilities (including Headquarters) in the Gulf Coast
          Areas and files a consolidated claim on behalf of the entire business, compensation shall be
          determined as set forth in the Business Compensation Framework.
       2. For any other Multi-Facility Business, compensation shall be calculated using the Business
          Compensation Framework modified as follows:
           a. Sum lost profits and RTP(s) for all Facilities in claim.


                                                         3

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Case 2:10-md-02179-CJB-DPC Document 6430-13 Filed 05/03/12 Page 5 of 5



   b. Subtract any spill-related Payments from the initial BP claims process and/or the GCCF to
      the Multi-Facility Business claimant.
   c. Subtract any applicable VoO Settlement Payment Offset and/or any applicable VoO Earned
      Income Offset.




                                              4

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